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 4
     Attorney for CASSANDRA MUNIZ,
 5   Defendant
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          ) No. 2:04-cr-00388-MCE
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            ) STIPULATION AND ORDER CONTINUING
                                        ) STATUS CONFERENCE
14   CASSANDRA MUNIZ,                   )
                                        )
15                  Defendant.          )
                                        )
16                                      )
17
18        The parties in the within matter, by and through their respective
19   counsel, hereby stipulate and agree that the status conference
20   presently set for May 17, 2007, shall be continued for two weeks to May
21   31, 2007, at 9:00 a.m.
22        The purpose of this continuance is to allow defense counsel
23   additional time for discussion with the Government and the defendant
24   concerning a plea agreement.     Accordingly, the parties further
25   stipulate and agree to exclusion of time from date of the last status
26   conference on April 24, 2007, through May 31, 2007, for adequate
27   preparation of counsel pursuant to 18 U.S.C. §3161(h)(B)(iv) (Local
28   Code T-4).


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 1   Dated:   May 15, 2007                       /s/ CANDACE A. FRY
                                                 CANDACE A. FRY, Attorney for
 2                                               CASSANDRA MUNIZ, Defendant
 3
 4   Dated:   May 15, 2007                       McGREGOR W. SCOTT
                                                 United States Attorney
 5
 6                                            By /s/ CANDACE A. FRY for
                                                 PHILIP A. TALBERT
 7                                               Assistant U.S. Attorney
 8                                               (Signed for Mr. Talbert with
                                                 his prior authorization)
 9
10                                     O R D E R
11       IT IS SO ORDERED.
12
     Dated: May 16, 2007
13
14                                       _____________________________
                                         MORRISON C. ENGLAND, JR.
15
                                         UNITED STATES DISTRICT JUDGE
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